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DEFENDANT:

CRIMINAL NO:

GUILTY PLEA:

SUBSTANCE

OF PLEA
AGREEMENT:

COUNT THREE:

ELEMENTS:

SENTENCE DATA SHEET

Fahad Ali
4:16-cr-385-S

Count Three (Title 18, United States Code, Section
1956(h)) (Money Laundering Conspiracy)

Pursuant to Rule 11(c)(1)(A) and (B) - Defendant agrees
to enter a guilty plea to Count Three (Title 18, United
States Code, Section 1956(h)) (Money Laundering
Conspiracy) of the Superseding Indictment; and waive his
right to appeal and collateral attack, except for a claim of
ineffective assistance of counsel.

In exchange, the United States: agrees that if the
defendant persists in his guilty plea and fulfills the terms
of this agreement, (1) the United States will dismiss any
remaining counts of the Superseding Indictment at the
time of sentencing; (2) will not oppose a two-point
reduction for acceptance of responsibility and an
additional one-point reduction under U.S.S.G.
3E1.1(b)(1); (3) if the defendant provides substantial
assistance as determined by the United States, in its sole
discretion, a motion for downward departure may be filed;
and (4) at the time of sentencing, the United States agrees
not to oppose Defendant’s position that for purposes of
calculating the advisory United States Sentencing
Guidelines range, the foreseeable loss attributable to him
is in excess of $3.5 million but did not exceed $9.5 million,
understanding that the Court is not bound by such
agreement or recommendation.

Money Laundering Conspiracy
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. That two or more persons made an agreement to commit money

laundering;

. That the defendant knew of the unlawful purpose of the agreement;

and

. That the defendant joined in the agreement willfully, that is, with

the intent to further the unlawful purpose.

ELEMENTS:

A. That the defendant knowingly conducted [attempted to conduct] a

B.

financial transaction;
That the financial transaction [attempted financial transaction]

involved the proceeds of a specified unlawful activity, namely wire
fraud;

. That the defendant knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful
activity; and

. That the defendant knew that the transaction was designed in

whole or in part to conceal or disguise the nature, location, source,
ownership, or control of the proceeds of the specified unlawful
activity.

PENALTIES: Count Three — Imprisonment for not more than 20 years;

and/or a fine of up to $250,000 or twice the gross gain or

loss
SENTENCING
GUIDELINES: Advisory
SUPERVISED
RELEASE: Up to 3 years
SPECIAL
ASSESSMENT: $100 per count of conviction

ATTACHMENT: Plea Agreement
